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                                        September 21, 2022


BY ELECTRONIC FILING
The Honorable Christopher J. Burke
United States District Court for the District of Delaware
844 N. King Street
Wilmington, Delaware 19801

               Re:   Team Systems International, Inc.
                     D. Del. Case No. 1:22-cv-00993-GBW
                     Bankr. D. Del. Case No. 22-10066 (CTG)


Dear Judge Burke:

      This firm is counsel to Deborah Mott and Steven Acosta, appellants in the

above-referenced matter. I write as a follow up to our September 12, 2022 ADR

teleconference. During that teleconference, I indicated to Your Honor that a motion

was pending before the Delaware Bankruptcy Court that could potential moot this

matter and requested that no mediation be scheduled until the Bankruptcy Court

ruled. Since that time, the appellants and the appellee have been working to

informally resolve the issues that are the subject of this appeal. Thus, we respectfully



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request that this matter be put on hold for an additional thirty days to allow the parties

more time to resolve their issues. As such, if the appeal is not voluntarily dismissed

by October 20, 2022, we will provide Your Honor with a status report.

      Appellee’s counsel has reviewed this letter and has indicated that he agrees

with the above.



                                     Respectfully submitted,

                                     /s/ Kevin S. Mann

                                     Kevin S. Mann (No. 4576)



cc:   Deborah Benyo (Deborah_Benyo@ded.uscourts.gov)
      David Carickhoff, Esq.
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